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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   M. H. and J. H.,

         Plaintiffs,

   v.                                      Case No: 8:21-cv-814-VMC-TGW

   OMEGLE.COM LLC,

         Defendant.
                                      /

                   ORDER ON MOTIONS FOR SUMMARY JUDGMENT

         The Court takes this opportunity to advise the parties

   of the Court’s requirements for motions for summary judgment.

   The below requirements are also listed on the undersigned’s

   webpage    at     https://www.flmd.uscourts.gov/judges/virginia-

   covington.

         Absent the Court’s permission, a party may not file

   multiple motions for summary judgment.

         Each motion for summary judgment must include a section

   titled    “Statement    of   Material    Facts.”   The   statement   of

   material facts must list each material fact alleged not to be

   disputed in separate, numbered paragraphs. Each fact must be

   supported by a pinpoint citation to the specific part of the

   record relied upon to support that fact. For example, a

   reference to “Deposition of Jones” is insufficient; the page
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   and line number of the deposition transcript must be included.

   The   record   includes    depositions,       electronically   stored

   information,     affidavits    or       declarations,   stipulations,

   admissions, and interrogatory answers. It does not include

   lawyers’ affidavits.

         When preparing the statement of material facts, the

   moving party must reference only the material facts necessary

   for the Court to determine the issues presented in the motion

   for summary judgment. Legal argument should not be included

   in the statement of material facts. Failure to submit a proper

   statement of material facts constitutes grounds for denial of

   the motion.

         Each response in opposition to a motion for summary

   judgment must include a section titled “Response to Statement

   of Material Facts.” The opposing party’s response must mirror

   the statement of material facts by admitting and/or denying

   each of the moving party’s assertions in matching numbered

   paragraphs. Each denial must set forth a pinpoint citation to

   the record where the fact is disputed. Although the opposing

   party’s response must correspond with the paragraph scheme

   used in the statement of material facts, the response need

   not repeat the text of the moving party’s paragraphs. In

   deciding a motion for summary judgment, the Court will deem


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   admitted any fact in the statement of material facts that the

   opposing party does not specifically controvert, provided

   record   evidence    supports    the   moving     party’s   statement.

   Additional facts the party opposing summary judgment contends

   are material shall be numbered and placed at the end of the

   opposing party’s response and include a pinpoint citation to

   the record where the fact is established.

         When resolving a motion for summary judgment, the Court

   has no independent duty to search and consider any part of

   the record not otherwise referenced and pinpoint cited in the

   statement of material facts and response thereto. See Fed. R.

   Civ. P. 56(c)(3)(“The court need consider only the cited

   materials,    but   it   may   consider   other    materials   in   the

   record.”).

         A party relying on a deposition transcript to support a

   motion for summary judgment must file the transcript in its

   entirety (condensed version is fine) with exhibits.

         Counsel filing a document with exhibits totaling more

   than 10 pages must create an index to the exhibits, including

   the exhibit number and title. File the index as the first

   attachment to the parent document.




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         DONE and ORDERED in Chambers in Tampa, Florida, this

   27th day of May, 2021.




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